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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION




  “JOHN DOE”,                                              )
                                                           )
                                          Plaintiff,       )
                                                           )
  vs.                                                      )     No.: 1:16-cv-01266-TWP-DML
                                                           )
  BUTLER UNIVERSITY, et al.,                               )
                                                           )
                                          Defendants.      )
                                                           )

   PLAINTIFF’S MOTION FOR ADDITIONAL ONE-DAY EXTENSION OF
    TIME TO FILE REPLY MEMORANDUM IN SUPPORT OF PENDING
    MOTION FOR EXTENSION OF TIME TO COMPLETE NON-EXPERT
    WITNESS DISCOVERY AND DISCOVERY RELATED TO LIABILITY
   ISSUES AND INCORPORATED REQUEST THAT EXTENSION APPLY
                        TO ALL PARTIES

          Plaintiff, “JOHN DOE” (“Plaintiff”), by and undersigned counsel, hereby moves this

  Honorable Court for an additional 1-day extension of time, up to and including February 23, 2018,

  to file his Reply Memorandum in support of his pending Motion for Extension of Time to File Reply

  Memorandum in Support of Pending Motion For Extension of Time to Complete Non-expert

  Witness Discovery and Discovery Related to Liability Issues and Incorporated Request That

  Extension Apply to All Parties the deadline to complete non-expert witness discovery and discovery

  related to liability issues, and as grounds therefor states:

          1.      On February 20, 2018, Plaintiff filed an unopposed motion for a 2-day extension of

  time to filea Reply Memorandum in support of [Dkt. 109].

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         2.      That motion, which was unopposed, was granted.

         3.      Today, due to unforeseen problems with BOTH his office computer and his laptop

  computer, undersigned counsel has been unable to finish the Reply Memorandum by midnight on

  February 22, 2108.

         4.      Both computers will be repaired tomorrow, and undersigned counsel will be able

  to file the Reply Memorandum on Friday, February 23, 2018.

  Reply Memorandum on or before February 22, 2018.

         5.      Due to the lateness of the hour, undersigned counsel was unable to “meet and confer”

  with opposing counsel, but will do so at the earliest possible opportunity tomorrow.

         6.      This motion is made in good faith and not for dilatory or other improper purposes.

         WHEREFORE, Plaintiff JOHN DOE respectfully requests this Honorable Court GRANT

  this motion, and order the relief requested herein.

                       CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to S.D.Ind.L.R. 7.1(g), I hereby certify that counsel for the movants was unable to

  confer with all parties or non-parties who may be affected by the relief sought in this motion in a

  good faith effort to resolve the issues raised therein, as the computer failure resulting in the need to

  file this motion was unexpected and occurred too late to contact opposing counsel.


                                                          s/Andrew M. Kassier, Esq.




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                                                      Respectfully submitted,

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                                               BY:     s/Andrew M. Kassier
                                                      ANDREW M. KASSIER, ESQ.
                                                      (Fla. Bar No. 316547)

                                                      Attorneys for Plaintiff


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served using the CM-

  ECF filing system this 22nd   day of February, 2018 on all counsel of record.


                                                       s/Andrew M. Kassier, Esq.




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